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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               WACO DIVISION


WSOU INVESTMENTS, LLC d/b/a BRAZOS        Case No. 6:20-cv-00486-ADA
LICENSING AND DEVELOPMENT,

           Plaintiff,                     JURY TRIAL DEMANDED
     v.

DELL TECHNOLOGIES INC., DELL INC.,        PUBLIC VERSION
EMC CORPORATION, AND VMWARE,
INC.,

           Defendants.

              DEFENDANTS’ OPPOSED MOTION TO DISMISS
             FOR LACK OF SUBJECT MATTER JURISDICTION
           UNDER FEDERAL RULE OF CIVIL PROCEDURE 12(B)(1)
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Abbreviation                                   Term
  ’360 patent   U.S. Patent No. 7,092,360

     Dell       Dell Technologies Inc., Dell Inc., EMC Corporation, and VMware, Inc.

     NPE        Non-practicing entity

Amended PPA     Amended Patent Purchase Agreement

     PPA        Patent Purchase Agreement

    Wade        Wade and Company

   WSOU         WSOU Investments, LLC




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  B       USPTO Reel 022162 Frame 0730

  C       USPTO Reel 018904 Frame 0422

  D       USPTO Reel 021138 Frame 0032

  E       USPTO Reel 044000 Frame 0053

  F

  G

  H

   I      USPTO Reel 042153 Frame 0314

   J      USPTO Assignment History of ’360 Patent

  K       Letter from B. Rosenthal to J. Etheridge (November 25, 2020)

  L       Letter from B. Rosenthal to J. Etheridge (April 16, 2021)

  M       Email from A. Kathir to J. Etheridge (March 29, 2021)

          Black’s Law Dictionary (11th ed. 2019) (example provided under definition of
  N       “VOID”)

  O

          2020 Patent Dispute Report: Year in Review, available at
          https://www.unifiedpatents.com/insights/2020-patent-dispute-report-year-in-
  P       review

          Analytics: The Most Litigious District Court Patent Plaintiffs, available at
          https://lawstreetmedia.com/news/tech/analytics-the-most-litigious-district-
  Q       court-patent-plaintiffs

  R       Etchegoyen Deposition Exhibit 8 (BRAZOS-GOOALL-0002132)

  S       Etchegoyen Deposition Exhibit 9 (BRAZOS-GOOALL-0007904)




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  U      Excerpt from Deposition Transcript of Stuart Shanus, dated April 12, 2022

         Federal Trade Commission, Patent Assertion Entity Activity: An FTC Study
         (2016), available at
         https://www.ftc.gov/system/files/documents/reports/patent-assertion-entity-
         activity-ftc-
  V      study/p131203_patent_assertion_entity_activity_an_ftc_study_0.pdf




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            Defendants move under FRCP 12(b)(1) to dismiss WSOU’s lawsuit for lack of subject

matter jurisdiction. WSOU does not own the ’360 patent (the sole asserted patent in this action)

and thus lacks standing to bring this lawsuit.

I.          INTRODUCTION

            WSOU lacks standing for multiple independent reasons. By way of background, WSOU

is an NPE founded by Craig Etchegoyen. Its primary business is threatening and filing lawsuits

based on patents that it purportedly acquired from Nokia and related entities such as Alcatel Lucent.

However, WSOU never actually acquired the ’360 patent. This is not the first time Mr. Etchegoyen

failed to acquire sufficient rights to patents before asserting them. In just the last two years,

Uniloc 1—another NPE founded by Mr. Etchegoyen—has had lawsuits against Apple and Google
       0F




dismissed because it did not have exclusionary rights in the asserted patents. In light of this and

other evidence casting doubt on WSOU’s rights in the asserted patent, Defendants repeatedly

pressed WSOU for information related to its ability to institute and maintain this lawsuit. However,

WSOU never produced any evidence substantiating its claims of standing. With fact discovery

now closed and all fact depositions completed, it is clear that WSOU does not have any rights—

let alone exclusionary rights—to the ’360 patent for several reasons.

            First, WSOU purports to have acquired the ’360 patent from Alcatel Lucent. But Alcatel

Lucent never had the rights to the ’360 patent and therefore could not have transferred any rights

to that patent. Instead, the ’360 patent was assigned to Alcatel-Lucent Canada Inc. There is no

recorded assignment to Alcatel Lucent, which is a different entity located in France. As a result,

Alcatel Lucent did not have the rights in the ’360 patent to transfer in the first place.




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       Second, even if the foregoing fatal flaw did not exist, WSOU still could not maintain this

case. The ’360 patent was never assigned to WSOU, period. Instead, assuming, arguendo, that

Alcatel Lucent, the French entity, had valid rights in the ’360 patent to transfer,




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                                                                                                     .




                  No interest in that patent was ever assigned to WSOU.

       Third, even if there were some purported assignment to WSOU of some interest in the ’360

patent—and there was not—WSOU still has a fatal standing problem.




                                                         2




       Finally, even if WSOU’s standing as to the ’360 patent did not suffer from the previous

fatal deficiencies,


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                                                 2
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        All of these defects are jurisdictional and cannot retroactively be cured because “[s]tanding

must be present at the time the suit is brought.” Sicom Sys., Ltd. v. Agilent Techs., Inc., 427 F.3d

971, 975–76 (Fed. Cir. 2005); see also Enzo APA & Son, Inc. v. Geapag A.G., 134 F.3d 1090,

1093 (Fed. Cir. 1998) (“[N]unc pro tunc assignments are not sufficient to confer retroactive

standing.”); Neutron Depot, LLC v. All Web Leads, Inc., No. AU-16-CA-00901-SS, 2017 WL

9538893, at *2, n.3 (W.D. Tex. Nov. 30, 2017) (rejecting argument that after suit was filed Plaintiff

gained the retroactive right to sue for past infringement). As a result, the case must be dismissed.

II.     FACTUAL BACKGROUND

        A.     The ’360 Patent Was Never Assigned to Alcatel Lucent

        On December 21, 2001, the ’360 patent’s named inventors assigned to Tropic Networks

Inc. the “entire right, title and interest in” the patent application that ultimately issued as the ’360

patent. Ex. A (USPTO Reel 012412 Frame 0469), at 2. The assignment was recorded with the

USPTO on December 28, 2001. Id. at 1. Tropic Networks Inc. then assigned the ’360 patent to

6467253 Canada Inc. Ex. B (USPTO Reel 022162 Frame 0730). After that assignment, 6467253

Canada Inc. changed its name to Tropic Networks Inc. Ex. C (USPTO Reel 018904 Frame 0422).

Then, Tropic Networks Inc. assigned the ’360 patent to Alcatel-Lucent Canada Inc. Ex. D

(USPTO Reel 021138 Frame 0032). This was recorded at the USPTO on June 23, 2008. Id. at 1.

        On September 25, 2017, WSOU recorded, at the Patent Office, several documents

purporting to relate to the ’360 patent. WSOU recorded an assignment of assignor’s interest from

Alcatel Lucent (not Alcatel-Lucent Canada) to Wade. Ex. E (USPTO Reel 044000 Frame 0053).

WSOU, however, did not record any assignment of the ’360 patent from Alcatel-Lucent Canada


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Inc. to Alcatel Lucent. The Patent Office does not have any record of an assignment from Alcatel-

Lucent Canada Inc. to Alcatel Lucent. This gap in title is shown below.

      Date of Ownership Change                          ’360 Patent Assignment
    Dec. 21, 2001                              Named inventors  Tropic Networks, Inc.

    Jan. 5, 2006                            Tropic Networks, Inc.  6467253 Canada Inc.

    Jan. 6, 2006                             6467253 Canada Inc.  Tropic Networks, Inc.

    Apr. 13, 2007                         Tropic Networks, Inc.  Alcatel-Lucent Canada Inc.

                                                                    ?

    Aug. 2, 2017                                   Alcatel Lucent  Wade and Co. 4    3F




        B.




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  Although WSOU recorded this assignment as purporting to be from Alcatel Lucent to WSOU,
the included documentation reflects that the patents were assigned from Alcatel Lucent to Wade.

         See infra Section II.D. Moreover, WSOU recorded this assignment at the Patent Office
as having an “[e]xecution date” of July 22, 2017.




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                                  Id.




  C.




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                                          See infra Section IV.




                                                  See infra Section VI.




  D.




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                                                          .




                                  Thus, WSOU never obtained rights to the ’360 patent from Wade.

III.     WSOU BEARS THE BURDEN TO PROVE STANDING

         “Standing to sue is a threshold requirement in every federal action.”    Sicom Sys., Ltd. v.

Agilent Techs., Inc., 427 F.3d 971, 975 (Fed. Cir. 2005). As the plaintiff, WSOU bears “the burden

to show necessary ownership rights to support standing to sue.”        Abbott Point of Care Inc. v.

Epocal, Inc., 666 F.3d 1299, 1302 (Fed. Cir. 2012). To meet its burden, WSOU “must demonstrate

that it held enforceable title to the patent at the inception of the lawsuit” or else its infringement

claims must be dismissed for lack of jurisdiction. Abraxis Bioscience, Inc. v. Navinta LLC, 625

F.3d 1359, 1364 (Fed. Cir. 2010). 5 These standards apply to “each claim [a plaintiff] seeks to
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  Where, as here, the standing challenge is “factual” rather than “facial,” the Court “does not
assume the correctness of the factual allegations in the complaint. Rather, in the case of a


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press,” including for past infringement. Wacoh Co. v. Chrysler LLC, No. 08-cv-456-slc, 2009 WL

36666, at *9 (W.D. Wis. Dec. 1, 2008).

       The plaintiff must also satisfy the requirements of both Article III of the U.S. Constitution

(constitutional standing) and 35 U.S.C. § 281 (statutory standing). See, e.g., Lone Star Silicon

Innovations LLC v. Nanya Tech. Corp., 925 F.3d 1225, 1234–36 (Fed. Cir. 2019). Constitutional

standing determines whether a plaintiff “may invoke the judicial power” at all, while statutory

standing “establish[es] when a party may obtain relief under the patent laws.”       Id. at 1235. To

meet the “injury in fact” requirement for constitutional standing, the plaintiff must possess

exclusionary rights in the patent. Id. at 1234 (citing WiAV Sols. LLC v. Motorola, Inc., 631 F.3d

1257, 1264 (Fed. Cir. 2010)).      “Exclusionary rights” are “the ability to exclude others from

practicing an invention or ‘to forgive activities that would normally be prohibited under the patent

statutes.’” Id. (quoting Morrow v. Microsoft Corp., 499 F.3d 1332, 1342 (Fed. Cir. 2007)).          A

plaintiff lacking exclusionary rights cannot have constitutional standing because no injury in fact

can occur. Morrow, 499 F.3d at 1340–41.

       Further, “the general rule is that one seeking to recover money damages for infringement

of a United States patent (an action ‘at law’) must have held the legal title to the patent during the

time of the infringement.” Arachnid, Inc. v. Merit Indus., 939 F.2d 1574, 1579 (Fed. Cir. 1991).

The mere reference in an assignment to all right, title, and interest in the patent does not transfer




factual challenge to jurisdiction, the question is whether the facts actually establish that the
court has jurisdiction over the matter. In that setting, the burden is on the plaintiff to show
jurisdiction, and parties may offer factual evidence bearing on that question.” Script Sec.
Sol., LLC v. Amazon.com, Inc., No. 2:15-CV-1030-WCB, 2016 WL 6433776, at *2 (E.D. Tex.
Oct. 31, 2016) (citing 5B Wright & Miller, Federal Practice & Procedure § 1350, at 154–80
(3d ed. 2004)). In a factual 12(b)(1) challenge, it is appropriate to consider documentary
evidence produced in the litigation, such as the agreements referenced herein. Script Sec.,
2016 WL 6433776, at *2.


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the right to sue for past infringement. Moore v. Marsh, 74 U.S. 515, 522 (1868). “A party may

sue for past infringement transpiring before it acquired legal title to a patent if a written assignment

expressly grants the party a right to do so.” Abraxis, 625 F.3d at 1367 (emphasis added). Standing

to sue for past infringement cannot be cured. See Mas-Hamilton Grp. v. LaGard, Inc., 156 F.3d

1206, 1211 (Fed. Cir. 1998) (explaining that a nunc pro tunc assignment cannot cure a standing

defect existing at the time the suit was filed).

        The right to sue for damages predating patent assignment is an exclusionary right because

it provides the plaintiff with the right to exclude others from practicing the invention during that

period (which is the legally protected interest that is harmed by an alleged infringement). Lone

Star, 925 F.3d at 1234; WiAV Sol., 631 F.3d at 1264–65. Whether the plaintiff holds the right to

sue for alleged infringement during that pre-assignment period is therefore a constitutional

standing issue.    Lone Star, 925 F.3d at 1234–35.        A challenge to a plaintiff’s constitutional

standing is properly raised under FRCP 12(b)(1). Uniloc 2017 LLC v. Google LLC, 508 F. Supp.

3d 556, 564 (N.D. Cal. 2020); see also Uniloc USA, Inc. v. Apple, Inc., 2020 WL 7122617 (N.D.

Cal. Dec. 4, 2020) (dismissing case for lack of standing). 6 The plaintiff’s lack of constitutional
                                                              5F




standing can be raised at any time by a defendant, or sua sponte by the Court.          Nat’l Org. for

Women, Inc. v. Scheidler, 510 U.S. 249, 255 (1994); Barlow & Haun, Inc. v. United States, 805

F.3d 1049, 1060 n.5 (Fed. Cir. 2015).
IV.     ALCATEL LUCENT NEVER HAD THE RIGHTS TO THE ’360 PATENT AND
        COULD NOT HAVE ASSIGNED THEM TO ANYONE, INCLUDING WADE

        The absence of any assignment from Alcatel-Lucent Canada Inc. to Alcatel Lucent (a

French entity) is fatal to WSOU’s standing. WSOU has the burden of establishing standing by



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showing “necessary ownership rights to support standing to sue.” Abbott Point of Care Inc. v.

Epocal, Inc., 666 F.3d 1299, 1302 (Fed. Cir. 2012). When there is a gap in the chain of title—as

there is here—a party cannot have standing to pursue a patent infringement claim. See Zeroclick,

LLC v. Apple Inc., 2020 WL 1955735, at *5–6 (N.D. Cal. Apr. 23, 2020). In order to overcome

such gap, the plaintiff must “produce the written agreements necessary to show it was assigned the

rights [to assert the patent].” FluorDx LLC v. Quidel Corp., 2019 WL 4599842, at *3 (S.D. Cal.

Sept. 23, 2019); see also Advanced Video Techs. LLC v. HTC Corp., 2019 WL 4198769, at *2

(S.D.N.Y. Aug. 12, 2019).       WSOU has produced no such documents in this case despite

Defendants informing WSOU, in writing, about this problem since November 2020 and diligently

seeking discovery.

       WSOU claims that it “is the owner of all rights, title, and interest in and to the ’360 patent,

including the right to assert all causes of action arising under the ’360 Patent.” Dkt. 35 ¶ 14.

According to the USPTO Assignment records, WSOU purports to have obtained the rights to the

’360 patent from Alcatel Lucent (via Wade). Ex. E (USPTO Reel 044000 Frame 0053). But

Alcatel Lucent never had the rights to the ’360 patent in the first instance. There is no assignment

transferring the rights to the ’360 patent from Alcatel-Lucent Canada Inc. (or any other entity) to

Alcatel Lucent, a French company. Ex. J. Nor is this trivial. Alcatel-Lucent Canada Inc. has

recorded other assignments from itself to Alcatel Lucent. Ex. I (USPTO Reel 042153 Frame 0314).

       Since November 2020, Defendants have repeatedly sought WSOU’s explanation for how

it could have obtained the rights to the ’360 patent from an entity that never had those rights. See

Exs. K, L. WSOU’s belated response was mere attorney argument that did nothing to change the

facts as outlined above. Ex. M. WSOU’s attorney argument is insufficient, and does not meet the

requirement that patent rights can only be transferred through a written instrument. See Speedplay,




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Inc. v. Bebop, Inc., 211 F.3d 1245, 1250 (Fed. Cir. 2000); see also FluorDx, 2019 WL 4599842,

at *3 (dismissing case where “Plaintiff failed to produce the written agreements necessary to show

it was assigned the rights [to asserted patent]”). WSOU’s lack of standing is clear from the Patent

Office’s Assignment Records, and thus, this case should be dismissed.

V.     WADE NEVER ASSIGNED THE ’360 PATENT TO WSOU

       WSOU cannot and does not own any rights in the ’360 patent because there has never been

any valid assignment to WSOU of that patent.




                                                                                     Each of these

arguments is discussed in turn below. Because WSOU never obtained any rights in the ’360 patent,

it suffers no injury in fact from alleged infringement, and therefore lacks Article III standing to

assert the ’360 patent against Defendants. See Morrow, 499 F.3d at 1339.

       A.

       WSOU never obtained exclusionary rights to the ’360 patent because




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       It is black-letter law that



                     Restatement (Second) of Contracts § 328 (Am. L. Inst. 1981). (“[A]ssignment

in similar general terms is an assignment of the assignor’s rights and a delegation of his

unperformed duties under the contract.”); Epistar Corp. v. Int’l Trade Comm’n, 566 F.3d 1321,

1333 (Fed. Cir. 2009) (“Black letter contract law states that the assignment of a contract to an

assignee . . . only changes the obligated party, not the scope of the obligation.”); see also F.D.I.C.

v. McFarland, 243 F.3d 876, 887 (5th Cir. 2001) (“[A]n assignee takes all of the rights of the

assignor, no greater and no less.”).




       B.

       Even if Wade had successfully assigned the ’360 patent to WSOU




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                                                                           The phrase “void ab initio”

means: “Null from the beginning, as from the first moment when a contract is entered into.”

BLACK’S LAW DICTIONARY (11th ed. 2019) (example provided under definition of “VOID”) (Ex.

N); Faison v. Lewis, 25 N.Y.3d 220, 222, 224, 230 (N.Y. 2015) (holding that something void ab

initio “is never entitled to legal effect” because “[v]oid things are as no things”) (internal citations

omitted); LNV Corp. v. Sorrento, 31 N.Y.S.3d 922, 2016 N.Y. Slip Op. 50250(U), at *3 (Sup. Ct.

N.Y. Feb. 29, 2016) (citing Faison for its explanation of the term “void ab initio”).




                                                                                 WSOU therefore has

not met, and cannot meet, its burden to demonstrate standing. See Abraxis, 625 F.3d at 1364.

        WSOU is an NPE.




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                    Since its inception, WSOU has been an NPE. WSOU has never employed any

inventors at the time of the purported inventions of their patents, and did not research or develop

any of the technology claimed by its patents. Rather, WSOU activities to date have consisted of

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8
  The Federal Trade Commission has referred to NPEs as “Patent Assertion Entities,” (“PAEs”)
and defined PAEs as businesses that acquire patents from third parties and seek to generate revenue
by asserting them against alleged infringers. Ex. V (FTC Study), at 1.


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monetization of the patents through licensing and filing lawsuits. E.g.,                    ; Ex. P

(2020 Year Review), at 1 (“WSOU Investments accounted for 5% of all patent litigation in 2020

and was the most active assertor with 187 cases brought in district court.”); Ex. Q (Analytics), at

2 (“WSOU Investments averages approximately five new case filings per week.”). Thus, to the

extent WSOU argues




                                                                             8F




       To the extent WSOU argues that

                                          WSOU’s argument is a red herring and wrong.



                                               Spota v. Jackson, 10 N.Y.3d 46, 52 (2008) (“This

conclusion is supported by the clause, present in each version, that ‘[a]ny lease, contract or

agreement . . . shall be void,’ as such language would be meaningless if the tribe could, by its

actions, “agree” to accept an outsider and change such person’s status as an ‘intruder.’”) (emphasis

added); Campbell v. Thomas, 897 N.Y.S.2d 460, 466 (2010) (explaining that “the parties to a void

marriage (and everyone else) are free to treat the marriage as a nullity without the involvement of




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a court”); Sphere Drake Insurance Ltd. v. Clarendon National Insurance Co., 263 F.3d 26, 31 (2d

Cir. 2001) (“[I]f an agreement is void, it cannot be a contract.”). Thus, Defendants are not

enforcing the terms of a contract, but rather challenging standing (due to the absence of a contract).

        Thus, because WSOU never obtained any rights to the ’360 patent from Wade—even if

Wade had rights to give, which it did not—WSOU lacks standing and its claim for patent

infringement should be dismissed in its entirety.

VI.     WSOU LACKS STANDING TO SUE FOR PRE-ASSIGNMENT DAMAGES

        In addition to the preceding fatal standing problems, WSOU also never obtained the right

to sue for past damages relating to the ’360 patent.



        A.     WSOU Never Acquired the Right to Sue for Past Damages

        WSOU claims it “is the owner of all rights, title, and interest in and to the ’360 patent,

including the right to assert all causes of action arising under the ’360 Patent and the right to any

remedies for the infringement of the ’360 Patent.” Dkt. 35 ¶ 14 (emphasis added). But WSOU

lacks standing to sue for past infringement of the ’360 patent




                                                                                            Moore, 74

U.S. at 522; Arachnid, 939 F.2d at 1579 & n.7; see also Minco, Inc. v. Combustion Eng’g, Inc., 95

F.3d 1109, 1117 (Fed. Cir. 1996) (“As the Supreme Court stated, it is a ‘great mistake’ to ‘suppose’

that the assignment of the patent carries with it the right to sue for past infringement.”); S.O.T.A.T.,

Inc. v. Frank’s Int’l, Inc., No. 2:06 CV 523, 2008 WL 4093599, at *3 (E.D. Tex. Aug. 28, 2008)




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(“It is settled law that a transfer of a right of action for past infringement must be express, and

cannot be inferred from an assignment of the patent itself.”) (internal citation omitted).




                                                                                      Accordingly, the

Court should dismiss WSOU’s claims for infringement before this date.

       B.


               1.


       To the extent WSOU argues that




       When a contract’s language is prospective and states that rights “shall be the property of

the client” and/or that “all rights thereto will be assigned,” the contract is not a present assignment

but an agreement or promise to assign in the future. Speedplay, 211 F.3d at 1253 (emphases added)

(citing Arachnid, 939 F.2d at 1574, 1576–81). Such a contract does not operate as an immediate

assignment of legal title. Bd. of Trustees of Leland Stanford Junior Univ. v. Roche Molecular Sys.,


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Inc., 583 F.3d 832, 841–42 (Fed. Cir. 2009), aff’d, 563 U.S. 776 (2011). “To determine whether

a contractual provision is a present assignment of future rights or a promise to assign rights in the

future, the language of the contract is dispositive.” Gellman v. Telular Corp., 2010 WL 5173213,

at *4 (E.D. Tex. Dec. 14, 2010); see also DDB Techs., L.L.C. v. MLB Advanced Media, L.P., 517

F.3d 1284, 1290 (Fed. Cir. 2008) (“[W]e have held that whether an assignment of patent rights in

an agreement such as the one in this case is automatic, requiring no further act on the part of the

assignee, or merely a promise to assign depends on the contractual language.”).




             Stanford, 583 F.3d at 841–42; see Gellman v. Telular Corp., 2010 WL 5173213, at

*3 (E.D. Tex. Dec. 14, 2010), aff’d, 449 F. App’x 941 (Fed. Cir. 2011) (“Because Plaintiff has not

produced a written assignment of the patent in suit and her alternative theories create an obligation




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to assign the patent rather than an actual assignment, Plaintiff has failed to demonstrate complete

legal title to the patent-in-suit.”). 10
                                     9F




WSOU would be wrong. Isolating words “flies in the face of the basic principle of New York

contract interpretation that the Court must read the [contract] as a whole, and not myopically

scrutinize individual words and provisions in isolation.” Green Tech. Lighting Corp. v. Liberty

Surplus Ins. Corp., No. 1:18-CV-01799 (PAC), 2020 WL 2036705, at *5 (S.D.N.Y. Apr. 28,

2020).




                2.




10
   State law generally governs who owns patent rights and on what terms. Stanford, 583 F.3d at
841. However, whether contractual language effects a present assignment of patent rights, or an
agreement to assign rights in the future, is a question of Federal Circuit law. Id.


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                                                                 Id.

                3.     The USPTO Assignment Records Confirm


         Finally,

                     Ex. E (USPTO Reel 044000 Frame 0137). It would make no sense to have a

specific assignment execution document be filed with the USPTO if a different, privately held

document were to override it and impose different terms on the transfer. To do so would impair

the public notice function of the USPTO assignment registration database, cause confusion over

ownership rights, and prejudice any subsequent defendant who might be subjected to a claim for

past damages from either or both transacting parties. MPEP, § 301, Part V(A) (June 2020).

         In contract law, a more specific provision controls over a more general one. Bowmer v.

Bowmer, 50 N.Y.2d 288, 294 (N.Y. 1980) (“[T]he specific provisions [of a contract] tend to restrict

the general.”); Muzak Corp. v. Hotel Taft Corp., 1 N.Y.2d 42, 46–47 (N.Y. 1956) (“[T]he specific

provision controls.”); see also Restatement (Second) of Contracts § 203(c) (Am. L. Inst. 1981)

(“[S]pecific terms and exact terms are given greater weight than general language.”). Thus,



VII.     CONCLUSION

         Defendants respectfully request that the Court dismiss with prejudice WSOU’s claims.

Alternatively, WSOU never received the right to assert claims for infringement of the ’360 patent

                         and WSOU has no right to relief for any claim before such date.



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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on June 8, 2022, all counsel of record who are deemed to

have consented to electronic service are being served with a copy of this document through the

Court’s CM/ECF system under Local Rule CV-5(a).

                                                         /s/ Barry K. Shelton
                                                         Barry K. Shelton




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